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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                  ROME DIVISION


 PATRICIA KENNEDY,
               Plaintiff(s),
                                                       CIVIL ACTION FILE
 vs.
                                                       NO. 4:20-CV-00069-LMM
 SHRINATHJI-KRUPA, INC.,
               Defendant(s).



                                 DEFAULT JUDGMENT

       The defendant(s) , having failed to plead or otherwise to defend in this action and

default having been duly entered, and the Court, Leigh Martin May, United States

District Judge, by order of 1/20/2021, having directed that judgment issue in favor of

plaintiff and against the defendant(s), it is hereby

       ORDERED AND ADJUDGED, Defendant shall comply with § 36.302(e) by

providing the Websites with the required accessibility information within ninety (90) days

of the entry of the Order, and to thereafter remain in compliance with

§ 36.302(e).

       Dated at Atlanta, Georgia this 3RD day of March, 2021.


                                                   JAMES N. HATTEN
                                                   CLERK OF COURT


                                           By:    s/ T. Frazier
                                                  Deputy Clerk
Prepared, filed, and entered
in the Clerk's Office
March 3, 2021
James N. Hatten
Clerk of Court

 By: s/ T. Frazier
        Deputy Clerk
